Case 1:17-cv-20720-JAL Document 38 Entered on FLSD Docket 06/22/2017 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 17-20720-CIV-LENARD/O’SULLIVAN

   DOUGLAS LONGHINI,

                   Plaintiff,

           v.

   FDG FLAGLER STATION PHASE I,
   LLC and SUGAR SMOKE, LLC d/b/a
   CAPTAIN JIMMY’S,

                   Defendant.



                     NOTICE OF SETTLEMENT AS TO ALL PARTIES
        Plaintiff DOUG LONGHINI (“Plaintiff”) hereby notifies this Court that Plaintiff has

 settled the instant case with Defendants FDG FLAGLER STATION PHASE I, (“Defendant,

 FLAGLER”) and SUGAR SMOKE LLC (“Defendant, SUGAR”). The undersigned expects all

 settlement correspondence to be completed within the next twenty (20) days. The parties will file

 a Joint Stipulation of Dismissal upon receipt of a fully executed settlement agreement.

 Additionally, based on the foregoing, Plaintiff requests that the Court extend the pending deadlines

 so that the parties not incur unnecessary attorney’s fees and costs.


                                                   Respectfully Submitted,

                                                   s/ Joshua Howard Sheskin
                                                   Joshua Howard Sheskin, Esq.,
                                                   Florida Bar No. 93028
                                                   Federal Disability Advocates, LLC
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                                                   Miami, Florida 33137
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                                                   E-mail: jsheskin@jltrial.com
                                                   COUNSEL FOR PLAINTIFF
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Case 1:17-cv-20720-JAL Document 38 Entered on FLSD Docket 06/22/2017 Page 2 of 2




                              CERTIFICATE OF SERVICE

 I HEREBY CERTIFY that a true and correct copy of the foregoing was served on June 22, 2017,

 via CM/ECF on all noticed parties.

                                                                    s/Joshua H. Sheskin Esq.
                                                                     Joshua H. Sheskin, Esq.
                                                                                 Bar #93028




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